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 NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                             :
 In re PAR PHARMACEUTICAL                    :
 SECURITIES LITIGATION                       :              Civil Action No.: 06-3226 (ES)
                                             :
                                             :                      ORDER
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 SALAS, DISTRICT JUDGE

        This matter having come before the Court upon request by Lead Plaintiff Louisiana

 Municipal Employees Retirement System (“Lead Plaintiff” or “LAMPERS”), pursuant to Fed. R.

 Civ. P. 23(e), for final approval of the Stipulation of Settlement with Defendants Par

 Pharmaceutical Companies, Inc. (“Par”), Dennis J. O’Connor, and Scott Tarriff (collectively,

 “Defendants”) and approval of the proposed Plan of Allocation for the settlement proceeds,

 (Motion for Final Approval of Class Action Settlement and For Approval of Plan of Allocation,

 D.E. No. 316), and upon Lead Counsel’s Motion for Award of Attorneys’ Fees, Reimbursement

 of Litigation Expenses, and Compensatory Award to Lead Plaintiff, (Motion for an Award of

 Attorneys’ Fees, Reimbursement of Litigation Expenses, and Compensatory Award to Lead

 Plaintiff, D.E. No. 317), and upon former Co-Lead Counsel Federman & Sherwood’s Motion for

 Attorneys’ Fees and Reimbursement of Expenses, (D.E. No. 318), which motion was withdrawn

 at the fairness hearing, and this Court having held a fairness hearing on July 2, 2013 at 10:30

 a.m., and upon careful consideration of the submission of the parties, and based upon the Court’s

 Opinion filed this day;

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        IT IS on this 29th day of July, 2013;

        ORDERED that Lead Plaintiff’s request for Final Approval of the Settlement is

 GRANTED; and it is further

        ORDERED that Lead Counsel’s motion for award of attorneys’ fees is GRANTED,

 awarding Lead Counsel $2,430,000, or 30% of the $8.1 million settlement fund, in attorneys’

 fees and awarding $587,928.43 in reimbursement of expenses; and it is further

        ORDERED that Lead Counsel’s request for a compensatory award in the amount of

 $18,000 to LAMPERS is GRANTED; and it is further

        ORDERED that Lead Plaintiff is hereby awarded the agreed upon $8.1 million to be paid

 in accordance with the Settlement; and it is further

        ORDERED that the Clerk shall terminate D.E. Nos. 316-318; and it is further

        ORDERED that the Clerk is hereby directed to close this matter.


                                                        s/Esther Salas
                                                        Esther Salas, U.S.D.J.




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